              Case 2:10-cr-00347-DAD Document 164 Filed 02/27/12 Page 1 of 4


     JOHN R. MANNING (SBN 220874)
1    ATTORNEY AT LAW
2
     1111 H Street, # 204
     Sacramento, CA. 95814
3    CR-S-09-380 WBS
     Fax (916) 447-0931
4

5
     Attorney for Defendant
     NAVPREET SINGH
6
                            IN THE UNITED STATES DISTRICT COURT
7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,                      )       No. CR-S-10-347 MCE
10
                                                    )
                                                    )
            Plaintiff,                              )       STIPULATION AND ORDER
11
                                                    )       CONTINUING STATUS CONFERNCE
     v.                                             )
12
                                                    )
     DISHAN PERERA et al.,                          )       Date: April 12, 2012
13
                                                    )       Time: 9:00 a.m.
14
                                                    )       Judge: Hon. Morrison C. England, Jr.
            Defendants.                             )
                                                    )
15
                                                    )
                                                    )
16

17
                    IT IS HEREBY stipulated between the United States of America through its
18
     undersigned counsel, Todd D. Leras, Assistant United States Attorney, together with counsel for
19
     defendant Dishan Perera, Alan Baum, Esq., counsel for defendant Jeremy Gachago, Michael L.
20
     Chastaine, Esq., counsel for defendant Ramiro Garcia, Christopher R. Cosca, Esq., counsel for
21
     defendant Love Deep Singh Sidhu, Christopher Haydn-Myer, Esq., counsel for defendant
22
     Leonard Woodfork, Olaf W. Hedberg, Esq., counsel for defendant Jason Cavileer, Dan F.
23
     Koukol, Esq., counsel for defendant Michael Tran, Michael D. Long, Esq., counsel for defendant
24

25
     Navpreet Singh, John R. Manning, Esq., counsel for defendant Imesh Perera, Mark Waecker,

26   Esq., counsel for defendant Navjot Singh, Mark J. Reichel, Esq., and counsel for defendant

27   Torey Moore, Shari Rusk, Esq., that the status conference presently set for February 23, 2012 be

28   continued to April 12, 2012, at 9:00 a.m., thus vacating the presently set status conference.



                                                        1
              Case 2:10-cr-00347-DAD Document 164 Filed 02/27/12 Page 2 of 4



1           Further, all of the parties, the United States of America and all of the defendants as stated
2    above, hereby agree and stipulate that the interests of justice served by granting this continuance
3    outweigh the best interests of the defendants and the public in a speedy trial and that time under
4    the Speedy Trial Act should be excluded under Title 18, United States Code Section
5    3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Codes T-2 (unusual or complex case)
6    and T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation,
7    February 21, 2012, to and including April 12, 2012. This is based on the complexity of the case;
8    including voluminous discovery and the fact there are eleven co-defendants. The defense
9    requests more time to review discovery, conduct investigation and engage in negotiations with
10   the government.
11   IT IS SO STIPULATED
12   Dated: February 21, 2012                             /s/ Alan Baum
                                                          ALAN BAUM
13
                                                          Attorney for Defendant
14                                                        Dishan Perera

15   Dated: February 21, 2012                             /s/ Michael L. Chastaine
                                                          MICHAEL L. CHASTAINE
16                                                        Attorney for Defendant
                                                          Jeremy Gachago
17
     Dated: February 21, 2012                             /s/ Christopher R. Cosca
18
                                                          CHRISTOPHER R. COSCA
19                                                        Attorney for Defendant
                                                          Ramiro Garcia
20
     Dated: February 21, 2012                             /s/ Christopher Haydn-Myer
21                                                        CHRISTOPHER HAYDN-MYER
22
                                                          Attorney for Defendant
                                                          Love Deep Singh Sidhu
23
     Dated: February 21, 2012                             /s/ Olaf W. Hedberg
24                                                        OLAF W. HEDBERG
                                                          Attorney for Defendant
25                                                        Leonard Woodfork
26   Dated: February 21, 2012                             /s/ Dan F. Koukol
27
                                                          DAN F. KOUKOL
                                                          Attorney for Defendant
28                                                        Jason Cavileer


                                                      2
             Case 2:10-cr-00347-DAD Document 164 Filed 02/27/12 Page 3 of 4



1    Dated: February 21, 2012                  /s/ Michael D. Long
                                               MICHAEL D. LONG
2
                                               Attorney for Defendant
3                                              Michael Tran
     Dated: February 21, 2012                  /s/ John R. Manning
4                                              JOHN R. MANNING
                                               Attorney for Defendant
5
                                               Navpreet Singh
6    Dated: February 21, 2012                  /s/ Mark Waecker
                                               MARK WAECKER
7                                              Attorney for Defendant
8
                                               Imesh Perera
     Dated: February 21, 2012                  /s/ Shari Rusk
9                                              SHARI RUSK
                                               Attorney for Defendant
10                                             Torey Moore
11
     Dated: February 21, 2012                  /s/ Mark J. Reichel
                                               MARK J. REICHEL
12                                             Attorney for Defendant
                                               Navjot Singh
13
     Dated: February 21, 2012                  Benjamin B. Wagner
14                                             United States Attorney
                                               by: /s/ Todd D. Leras
15                                             TODD D. LERAS
                                               Assistant United States Attorney
16

17

18

19

20

21

22

23

24

25

26

27

28




                                           3
                             Case 2:10-cr-00347-DAD Document 164 Filed 02/27/12 Page 4 of 4



1
                                                             ORDER
2

3                           GOOD CAUSE APPEARING, it is hereby ordered that the February 23, 2012 status

4    conference be continued to April 12, 2012 at 9:00 a.m. I find that the ends of justice warrant an

5    exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for

6    effective preparation exceeds the public interest in a trial within 70 days. IT IS FURTHER

7    ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and Local Code

8    T4 from the date of this order to April 12, 2012.

9           IT IS SO ORDERED.
     Dated: February 24, 2012
10
                                                          __________________________________
11
                                                          MORRISON C. ENGLAND, JR
12                                                        UNITED STATES DISTRICT JUDGE

13

14   DEAC_Signatu re-END:




15

16   c4d6b0d3

17

18

19

20

21

22

23

24

25

26

27

28




                                                                4
